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 2
                                IN THE UNITED STATES DISTRICT COURT
 3
                                   EASTERN DISTRICT OF CALIFORNIA
 4

 5   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-226 JAM; 2:11-CR-210 JAM

 6                                Plaintiff,             [PROPOSED]
                                                          - - - - - - - - - ORDER IMPOSING CONDITION
                                                         OF RELEASE
 7                         v.

 8   RACHEL SIDERS,

 9                               Defendant.

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11         On April 2, 2015, the Court heard argument on the United States’ Motion for Imposition of

12 Release Conditions (ECF No. 126) and defendant’s Oppostition to the United States’ Motion for

13 Imposition of Release Conditions (ECF No. 137). Based on the Court’s consideration of the arguments

14 of the parties and the statements of the pretrial services officer, IT IS HEREBY ORDERED that:

15         1. Amended conditions of release 1-14 be imposed upon defendant Rachel Siders; and

16         2. As agreed to by all counsel at the hearing, should defendant Siders seek to continue trial in

17             United States v. Kuzmenko et al., 2:11-cr-210-JAM, based on her medical condition, she

18             must sign and fully execute the HIPPA waiver attached to this order, see Attachment 1, at

19             least two weeks prior to the start of trial. Failure to sign and fully execute the attached

20             HIPPA waiver at least two weeks prior to the start of trial in United States v. Kuzmenko et

21             al., 2:11-cr-210-JAM, will result in defendant Siders being prohited from arguing for a

22             continuance based on her medical condition and will result in an inference in favor of the

23             Government that if defendant Siders’ medical records were produced they would not support

24             the request for a continuance.

25 DATED: April 3, 2015.

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET
      FORTH IN GOVERNMENT’S NOTICE
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 1                    AUTHORIZATION TO RELEASE MEDICAL INFORMATION

 2          I, Rachel Siders (DOB: */**/75), hereby authorize my treating physicians, including Dr. Robert

 3 Osorio, Dr. Elizabeth Christian, and Dr. Stafford Conway, to release medical records and information to

 4 the following individuals, in accordance with the following terms.

 5          1. I authorize the release of all medical records and information concerning my current medical

 6 conditions that I present to the government in support of any continuance of my trial. This includes any

 7 and all records regarding treatment of Rachel Siders, including, but not limited to: copies of complete

 8 charts, progress notes & interview notes, discharge summaries, operative reports, x-ray & all imagery,

 9 laboratory tests, pathology tissue, and all diagnostic studies whether in electronic data or other format.

10          2. The information may be released to AUSA Michele Beckwith, AUSA Matthew Segal, AUSA

11 Christiaan Highsmith, FBI Special Agent Brian Bridges, IRS-CI Special Agent Kristie Plateau, any

12 paralegal, secretary, or other staff working their behalf, and any healthcare professional working on their

13 behalf in the cases of United States v. Siders, 2:12-cr-226 JAM and United States v. Kuzmenko, 2:11-cr-

14 210 JAM.

15          3. The purpose of the release is to allow the government to examine the authenticity and

16 accuracy of documents and representations made by me and my attorney to the court and the

17 government regarding my health conditions and their effect on my ability to stand trial. It is also to

18 allow the government to conduct an independent assessment of my ability to stand trial and the

19 timeframe in which that may occur.

20          4. The parties are prohibited from using or disclosing the protected health information for any

21 purpose other than the determination of my ability to stand trial.

22          5. Any person obtaining copies of the records disclosed pursuant to this order shall maintain

23 their confidentiality and shall make no further disclosure except as provided by law or by order of this

24 court.

25          6. This release is valid only for determination of my ability to stand trial, including the

26 exhaustion of any appeal in either case.

27          7. I certify that this request has been made voluntarily and that the information given above is

28 accurate to the best of my knowledge. I understand that I may revoke this Authorization at any time,
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 1 provided that revocation is in writing, except to the extent that action has already been taken in reliance

 2 this Authorization. I understand that the doctor, health care provider, or health plan from whom my

 3 medical information is requested in this Authorization, may not condition treatment, payment,

 4 enrollment or eligibility for benefits on whether I sign this authorization. I understand the potential for

 5 the information disclosed pursuant to this Authorization to be subject to re-disclosure by the recipient

 6 and no longer be protected by the Standards for Privacy of Individually Identifiable Health Information,

 7 set forth at 45 CFR Parts 160 and 164.

 8            8. A copy of this Authorization or my signature thereon shall be used with the same

 9 effectiveness as an original.

10            9. Communications between my providers and any representative of the U.S. Attorney’s Office,

11 Department of Justice, and IRS-CI are authorized.

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     Dated:                                               By: _________________________________
15                                                               RACHEL SIDERS
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      RACHEL SIDERS HIPPA WAIVER                          2
